
934 A.2d 633 (2007)
192 N.J. 546
In the Matter of Jacob MICHELETTI (a minor) Dependent of the Adult Insured, Joseph Micheletti, Petitioner-Petitioner,
v.
STATE HEALTH BENEFITS COMMISSION, Respondent-Respondent.
Supreme Court of New Jersey.
September 12, 2007.
This matter having come before the Court on a notice of petition for certification from an August 6, 2007, order of the Appellate Division (M-5749-06) denying petitioner's motion for enforcement and for sanctions to be imposed on respondent for its failure to comply with the Appellate Division's judgment in A-4418-05T2, reported at 389 N.J.Super. 510, 913 A.2d 842 (2007), as well as that court's subsequent order of enforcement (M-3962-06) filed on May 10, 2007,
And a single Justice of the Supreme Court having stayed, by Order filed August 10, 2007, pursuant to Rule 2:9-8, the effect of the Appellate Division's August 6, 2007, order pending the Court's consideration of the petition for certification, and having ordered the expedited filing of and response to a petition for certification,
And the Court having reviewed the briefs and appendices of the parties and having set the matter down for oral argument on Tuesday, September 11, 2007,
And the Court having duly considered the arguments of counsel,
And petitioner having secured a favorable judgment from the Appellate Division, and respondent having elected to forgo review of that judgment,
And the petition for certification having sought enforcement of that judgment,
And good cause appearing;
IT IS ORDERED that the petition for certification is granted; and it is further
ORDERED that the August 6, 2007, order of the Appellate Division is summarily reversed; and it is further
ORDERED that respondent shall pay all invoices relating to in-network speech therapy, in-network occupational therapy, out-of-network speech therapy, and Applied Behavior Analysis/Verbal Behavior Therapy as follows:
1. Respondent shall process and pay all such invoices submitted prior to the date of this Order within fourteen days of the filing date of this Order; and
2. Respondent shall process and pay all such invoices submitted on or after the filing date of this Order in the ordinary course, but in no event any later than thirty days of their submission; and it is further; and
ORDERED that the application for the imposition of sanctions is denied, without prejudice to its renewal should respondent fail to comply with the terms of this Order.
Chief Justice RABNER and Justices LONG, WALLACE, RIVERA-SOTO, and HOENS join in the Court's Order. Justices LaVECCHIA and ALBIN did not participate.
